Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 1 of 10 PageID: 5




               EXHIBIT "A"
           Case
C.O.N.C.O.R.D        3:20-cv-09714-MAS-TJB Document 1-1 Filed   07/31/20 Page 2 of 10 PageID:inc?irPubI
                                                        https://www.concord-sots.ct.gov/CONCORD/ont 6   i cm...



                                              Connecticut's Official
                                              State Website



                                         iThe Office of
                                             I.1t1t1 iYK.] the State Denise W. Merrii

       Business Inquiry
        Business Details
                 Business Name: FARMINGTON CASUALTY COMPANY                   Citizenship/State Inc: Domestic/CT

                    Business ID: 0158280                                    Last Report Filed Year: NONE

              Business Address: NONE                                               Business Type: Other/Insurance

                Mailing Address: NONE                                            Business Status: Active

           Date Inc/Registration: Aug 24, 1982

             Annual Report Due
                         Date Not Applicable


                   NAICS Code: NONE                                             NAICS Sub Code: NONE



        Principals Details
        No Principal required for Business with Id: 0158280



        Agent Summary
                            Agent Name CORPORATION SERVICE COMPANY

                Agent Business Address 50 WESTON ST., HARTFORD, CT, 06120

              Agent Residence Address NONE




of 1                                                                                                                7   0   2020, 4:33 PM
 Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 3 of 10 PageID: 7




                                                          1UJ1(SXI1

 Attorney(s)JEFFREY A. BRONSTER. ESQ,
                                                                                      I sr!rTzI1!ui(iI
 Office Address 17 Wendell Place
 Town, State, Zip Code Fairview, NJ 07022                                                r rJersey
                                                                                        New
                                                                                   OCEAN                      COUNTY
 Telephone Number (201) 945-2566                                                   LAW                        DIVISION
 Attorney(s) for Plaintiff                                                 Docket No: OCN-L- 1552-20
EVELIliKELLING

         Plaint
                                                                                    CIVIL ACTION
                                                                                      1:IkA:uA [O)I



From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit If you dispute this complaint you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons not counting the date you received it (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.judiciai:)L.state.ni.us/prose/10153 deptvclerklawrefpdf) If the complaint is one in foreclosure then you must
file your written answer or motion and proof of service with the Clerk of the Superior Court Hughes Justice Complex P.O .
Box 971 Trenton NJ 08625-0971. A filing fee payable to the Treasurer State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed You must also send a copy of your answer or motion to plaintiffs attorney whose name and address appear above
or to plaintiff, if no attorney is named above A telephone call will not protect your rights you must file and serve a written
answer or motion (with fee of$135 00 and completed Case information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands plus interest and costs of suit lfjudgment is entered against you the Sheriff may seize your
money,wages or property to pay all or part of the judgment

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1 888 LSNJ LAW (1 -888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance you may obtain a referral to an attorney by calling one of the Lawyer Referral Services
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.oudiciary.state.ni.us/prose/10 153 deptyclerklawref.pff.

                                                                     /s/ Michelle M. Smith
                                                                         Clerk of the Superior Court


DATED: 07/01/2020

Name of Defendant to Be SVved: Farminttton Casual

Address of Defendant to




Revised 09/04/2012. CN 10792-English (Appendix X11-A)
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 4 of 10 PageID: 8
        OcN-L-001552-20 07/0112020 10:15':44 PM Pg 1 of 5 Trans ID: LCV20201155345




  JEFFREY A. BRONSTER, ESQ.
  17 Wendell Place
  Fairview, New Jersey 07022
  (201) 945-2566
  Attorney ID# 049411988
  Attorney for Plaintiff
                  ----------------------------------x        SUPERIOR COURT OF NEW JERSEY
  EVELYN KELLING,                                            LAW DIVISION OCEAN COUNTY
                                                             DOCKET NO. OCN-L-
                  Plaintiff,
                                                                     Civil Action
  VS.

  FARMINGTON CASUALTY
  COMPANY (a subsidiary of
  Travelers Casualty and Surety                               (Discovery Demands Attached)
  Company Inc.),

                  Defendant.
                    ------ ----------------------------- x

          The plaintiff, Evelyn Kelling, byway of Complaint against the defendant, hereby

  states as follows:

                                                  [SiIJS)I I

          1. The plaintiff, Evelyn Kelling, is a resident of Forked River, New Jersey,

  County of Ocean.

          2. Defendant Farmington Casualty Company is an insurance company, having

  its principal place of business at One Tower Square, Hartford, Connecticut 06183.

         3. At the times relevant to this Complaint, Plaintiff was also the owner of a

  residence located at 225 81st Street in Brooklyn, New York ("the Property").

         4. At the times relevant to this Complaint, the Property was insured under a

 policy issued by Defendant.
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 5 of 10 PageID: 9
       OCN-L-001552-20 07/01/2020 10:15:44 PM Pg 2 of 5 Trans ID: LCV20201155345




         5. In or about December 2019, on an exact date unknown to Plaintiff, a pipe

  inside the Property burst, causing extensive damage both to the residence itself and

  to the personal property contained therein.

         6. The aforesaid incident constituted a covered occurrence under Plaintiffs

  insurance policy with Defendant.

         7. Nevertheless, by letter of June 10, 2020, in breach of the contact of insurance,

  Defendant denied coverage, whereby the plaintiff has been damaged.

        WHEREFORE, Plaintiff demands judgment against the defendant for a

  declaratory judgment of coverage, compensatory damages, consequential damages,

  interest, costs of suit, and such further relief as the Court deems just and proper.


                                                   Is! Jeffrey A. Bronster
                                                   JEFFREY A. MONSTER, ESQ.
                                                   Attorney for the Plaintiff

  Dated: July 1, 2020




        The plaintiff hereby demands a trial by jury as to all issues asserted in the

 pleadings so triable as of right.


                                                   Is! Jeffrey A. Bronster
                                                   JEFFREY A. BRONSTER, ESQ.
                                                   Attorney for the Plaintiff

 Dated: July 1, 2020




                                             -2-
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 6 of 10 PageID: 10
        OCN-L-001552-20 07/01/2020 10:15:44 PM Pg 3 of 5 Trans ID: L0V20201155345




             [1 ai I         (I)• IJ    1I1W.      IJ P[Ii'i"rrnna
         I certify to the best of my knowledge and belief that the subject matter of this

   Complaint is not the subject of any other pending or contemplated lawsuit or proceed-

   ing; that no other persons should be named as parties hereto; and that confidential

   personal identifiers have been redacted from documents now submitted to the Court,

   and will be redacted from all documents submitted in the future in accordance with

   Rule 1:38-7(b). I certify that the foregoing statements made by me are true. I am

   aware that if any of the foregoing is wilfully false I am subject to punishment.


                                                  Is! Jeffrey A. Bronster
                                                  JEFFREY A. MONSTER

  DATED: November 25, 2019




                                            -3-
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 7 of 10 PageID: 11
        OCN-L-001552-20 07/01/2020 10:15:44 PM Pg 4 of 5 Trans ID: LCV20201155345




                        M (Si D (I J S) IliDi D (I Uli DU I) DI DII P7'W

         PLEASE TAKE NOTICE that you are to produce each of the documents listed

   below within the time provided by the Rules of the Court:

         1. Your entire underwriting file for the policy that is the subject matter of this

   Complaint.

         2. All documents relating to any renewal of Plaintiffs policy.

         3. Your entire claims file for the occurrence that is the subject matter of this

  Complaint, including the file of any independent adjuster or expert retained by you in

  connection with the claim.

         4. All correspondence, including electronic, between you and the plaintiff, or any

  representative of the plaintiff, including, but not limited to, any insurance agent,

  insurance broker, or public adjuster.

         5. The report of any expert you intend to rely upon at the trial of this action.

         6. All documents that you intend to rely upon at time of trial not otherwise

  produced in response to this Notice.


                                                  Is!Jeffrey A. Bronster
                                                  JEFFREY A. BRONSTER, ESQ.
                                                  Attorney for the Plaintiff

  Dated: July 1, 2020




                                             In
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 8 of 10 PageID: 12
       OCN-L-001552-20 07/01/2020 102 15, A4 FM Pg 5 of 5 Trans ID: LCV202.01155345




                    INTERROGATORIES TO THE DEFENDANT

         PLEASE TAKE NOTICE that you are to respond to each of the interrogatories

  below within the time provided by the Rules of the Court:

        1.State in detail each basis for your denial of Plaintiffs claim, including, where

  appropriate, citations to specific policy provisions.

        2. Identify all persons with knowledge of any facts relating to this action, and

  state in detail the facts known to each such person.



                                                   Is! Jeffrey A. Bronster
                                                   JEFFREY A. MONSTER, ESQ.
                                                   Attorney for the Plaintiff

  Dated: July 1, 2020




                                             -5-
Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 9 of 10 PageID: 13
          OCN-L-001552-20 07/01/2020 10:15:44 PM P9 1 of 1 Trans ID: LCV20201155345




                                                                                   11111   ~ilillillilfi~ll




   Co     Ce1as            Affl!Civ'                                                                                               V ____




  Case Caption: KELLING EVELYN Vs FARMING [ON                            Case Type: CONTRACT/COMMERCIAL TRANot\L [ION
  CAUALTY COMPANY                                                       Document Type: NJ eCourts Case Initiation Confrmation
  Case Initiation Date: 07/01/2020                                       Jury Demand: YES 6 JURORS       -



  Attorney Name: JEFFREY A BRONSTER                                     Is this a professional malpractice case? NO
  Firm Name: JEFFREY A. BRONSTER ESQ                                    Related cases pending: NO
  Address: 17 WENDELL PLACE                                             If yes, list docket numbers:
  FAIRVIEW NJ 07022                                                     Do you anticipate adding any parties (arising out of same
  Phone: 2019452566                                                     transaction or occurrence)? NO
  Name of Party: PLAINTIFF : KeIIing, Evelyn
  Name of Defendant's Primary Insurance Company                         Are sexual abuse claims alleged by: Evelyn Kelling? NO

  (if known): Unknown



         • !    '•:-
                            vj:
                                     L.J:FJSTI(   FOR PURPOSES OF DETERMINING IF CASE IS                      -.v       ...




  Do parties have a current, past, or recurrent relationship? YES

  If yes, is that relationship: Business

  Does the statute governing this case provide for payment of fees by the losing party? NO

  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:



  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



  Will an interpreter be needed? NO
           If yes, for what language:



  Please iiheck off each applicabe category Putative Class Action? NO Titlo 59 NO Consumer Fraud? NO
                        -c. rt-.                  •




  I c rtlg that conf i ieiiti al persnal id01 tifiors I i.e bin rdacted from •    As r, : submitted to the          '


  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  07/01/2020                                                                                                            Is! JEFFREY A BRONSTER
  Dated                                                                                                                                  Signed
  Case 3:20-cv-09714-MAS-TJB Document 1-1 Filed 07/31/20 Page 10 of 10 PageID: 14
            OCN L 001552-20 07/03/20204:20:38 AM Pg 1 of 1 Trans ID: LCV20201163255


OCEAN   COUNTY SUPERIOR COURT
OCEAN COUNTY COURTHOUSE
CIVIL LAW DIVISION
TOMS RIVER       NJ 08754
                                               TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (732) 504-0700
COURT HOURS 8:30 AM    4:30 PM
                       -




                                DATE:   JULY 02, 2020
                                RE:     KELLING EVELYN VS FARMINGTON CASUALTY COMPANY
                                DOCKET: OCN L -001552 20

        THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 2.

        THE MANAGING JUDGE ASSIGNED IS: HON ROBERT E. BRENNER

      IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 002
AT: (732) 504-0700.

      THE SUPREME COURT HAS APPROVED A PILOT PROGRAM IN THIS COUNTY TO EXPEDITE
CIVIL ACTIONS. THIS CASE HAS BEEN ASSIGNED TO THE EXPEDITED CIVIL (ECA) PILOT PROGRAM.

        DISCOVERY IS 195 DAYS AND RUNS FROM THE FILING OF THE FIRST RESPONSIVE PLEADING.

      YOU MAY SEEK REMOVAL FROM THE ECA PILOT PROGRAM BY FILING AND SERVING A
 LETTER OF INTENT SETTING FORTH THE BASIS FOR REMOVAL FROM THE ECA PILOT PROGRAM
 NO LESS THAN 10 DAYS PRIOR TO THE INITIAL CASE MANAGEMENT CONFERENCE. A PARTY
 MAY FILE AND SERVE A LETTER OBJECTING TO REMOVAL FROM THE ECA PILOT PROGRAM NO
 LESS THAN 5 DAYS BEFORE THE INITIAL CASE MANAGEMENT CONFERENCE.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: JEFFREY A. BRONSTER
                                             JEFFREY A. BRONSTER ESQ
                                             17 WENDELL PLACE
                                             FAIRVIEW         NJ 07022

JUQKEN1
